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 9   UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. SA      ~    ,~j

13              Plaintiff,                    GOVERNMENT'S NOTICE OF REQUEST FOR

14                   v.

15   STEPHEN WILLIAM BEAL,

16              Defendant.

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18        Plaintiff, United States of America, by and through its counsel

19   of record, hereby requests detention of defendant and gives notice of

20   the following material factors:

21        1.    Temporary 10-day Detention Requested (~ 3142(d)) on the

22              following grounds:

23             a.   present offense committed while defendant was on release

24                  pending (felony trial),

25             b.   defendant is an alien not lawfully admitted for

26                  permanent residence; and

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 1            c.    defendant may flee; or

 2            d.    pose a danger to another or the community.

 3       2.    Pretrial Detention Requested (~ 3142(e)) because no

 4             condition or combination of conditions will reasonably

 5             assure:

 6             a.    the appearance of the defendant as required;

 7             b.    safety of any other person and the community.

 8       3.    Detention Requested Pending Supervised Release/Probation

 9             Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.

10             ~ 3143(a))

11             a.    defendant cannot establish by clear and convincing

12                   evidence that he/she will not pose a danger to any

13                   other person or to the community;

14             b.    defendant cannot establish by clear and convincing

15                  evidence that he/she will not flee.

16       4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.

17             ~ 3142(e))

18             a.   Title 21 or Maritime Drug Law Enforcement Act ("MDLEA")

19                  (46 U.S.C. App. 1901 et seq.) offense with 10-year or

20                  greater maximum penalty (presumption of danger to

21                  community and flight risk);

22             b.   offense under 18 U.S.C. ~~ 924(c), 956(a), 2332b, or

23                  2332b(g)(5)(B) with 10-year or greater maximum penalty

24                  (presumption of danger to community and flight risk);

25            c.    offense involving a minor victim under 18 U.S.C.

26                  §~ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

27                  2251A, 2252(a)(1) - (a)(3), 2252A(a)(1) -2252A(a)(4),

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 1                   2260, 2421, 2422, 2423 or 2425 (presumption of danger

 2                   to community and flight risk);

 3             d.    defendant currently charged with an offense described

 4                   in paragraph 5a - 5e below, AND defendant was

 5                   previously convicted of an offense described in

 6                   paragraph 5a - 5e below (whether Federal or

 7                   State/local), AND that previous offense was committed

 8                   while defendant was on release pending trial, AND the

 9                   current offense was committed within five years of

10                  conviction or release from prison on the above-

11                  described previous conviction (presumption of danger to

12                  community).

13       5.    Government Is Entitled to Detention Hearing Under § 3142(f)

14             If the Case Involves:

15             a.   a crime of violence (as defined in 18 U.S.C.

16                  ~ 3156(a)(4)) or Federal crime of terrorism (as defined

17                  in 18 U.S.C. § 2332b(g)(5)(B)) for which maximum

18                  sentence is 10 years' imprisonment or more;

19            b.    an offense for which maximum sentence is life

20                  imprisonment or death;

21            c.    Title 21 or MDLEA offense for which maximum sentence is

22                  10 years' imprisonment or more;

23            d.    any felony if defendant has two or more convictions for

24                  a crime set forth in a-c above or for an offense under

25                  state or local law that would qualify under a, b, or c

26                  if federal jurisdiction were present, or a combination

27                  or such offenses;

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 1             e.    any felony not otherwise a crime of violence that

 2                   involves a minor victim or the possession or use of a

 3                   firearm or destructive device (as defined in 18 U.S.C.

 4                   § 921), or any other dangerous weapon, or involves a

 5                   failure to register under 18 U.S.C. ~ 2250;

 6             f.    serious risk defendant will flee;

 7             g.    serious risk defendant will (obstruct or attempt to

 8                   obstruct justice) or (threaten, injure, or intimidate

 9                   prospective witness or juror, or attempt to do so).

10       6.    Government requests continuance of        3    days for detention

11             hearing under ~ 3142(f).

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     Dated: May 17, 2018                 Respectfully submitted,
13
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